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 3   Telephone: (530) 885-6244
 4
     Attorney for Defendant
 5
     DEBORAH POLLARD
 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         Case No.: 2:17-CR-023 TLN
12
                    Plaintiff,
13
     vs.                                               STIPULATION AND ORDER
14                                                     CONTINUING STATUS CONFERENCE
     CURTIS PHILLIPS, CHARLES RAY                      AND EXCLUDING TIME UNDER THE
15                                                     SPEEDY TRIAL ACT
     GOODMAN, DEBORAH LYNN POLLARD,
16   CONWAY PHILLIPS, JR., and ELO WILLIE
     WADLEY,                                           Date:       April 4, 2019
17                                                     Time:       9:30 a.m.
                    Defendants.                        Court:      Hon. Troy L. Nunley
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22          This matter is presently set for a status conference on April 4, 2019. The case involves a
23   charged conspiracy to distribute cocaine base. The Drug Enforcement Administration’s
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     investigation included the use of confidential sources, controlled purchases, and court-authorized
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     wiretaps of a pager and two cellular telephones. The government has provided voluminous
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27
     discovery to defense counsel, including nearly 500 pages of investigative reports and three discs
     ORDER CONTINUING STATUS
28   CONFERENCE
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 1   of recordings and other materials.
 2
            The parties to this action, Plaintiff United States of America by and through Assistant
 3
     United States Attorney Jason Hitt, Attorney Toni White on behalf of Defendant Deborah Lynn
 4
     Pollard, Attorney Steve Plesser on behalf of Defendant Conway Phillips, Jr., and Attorney Todd
 5

 6   Leras on behalf of Defendant Elo Willie Wadley, stipulate as follows:

 7          1.   By this stipulation, Defendants now move to vacate the status conference presently
 8
                 set for April 4, 2019. The parties request to continue the status conference to June 6,
 9
                 2019, at 9:30 a.m., and to exclude time between April 4, 2019 and June 6, 2019 under
10
                 Local Code T-4. The United States does not oppose this request.
11

12          2. Two of the defendants in this matter have reached resolution and the remainder are

13               continuing to work toward the same. Due to the volume of discovery in the case,
14
                 including 500 pages of investigative reports and three discs containing additional
15
                 materials, defense counsel for all defendants are engaged in ongoing review of the
16
                 discovery and defense investigation related to potential defenses in this matter. This
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18               investigation is necessary to ensure that potential defenses are explored and discussed

19               with each defendant in the case.
20
            3. All defense counsel represent and believe that failure to grant additional time as
21
                 requested would deny each of them the reasonable time necessary for effective
22
                 preparation, considering the exercise of due diligence.
23

24          4. Based on the above-stated facts, the parties jointly request that the Court find that the

25               ends of justice served by continuing the case as requested outweigh the best interest
26
                 of the public and the Defendants in a trial within the time prescribed by the Speedy
27
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 1              Trial Act.
 2
            5. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 3
                seq., within which trial must commence, the time period of April 4, 2019 to June 6,
 4
                2019, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and (B)
 5

 6              (iv) [Local Code T-4] because it results from a continuance granted by the Court at

 7              Defendants’ request on the basis that the ends of justice served by taking such action
 8
                outweigh the best interest of the public and the Defendants in a speedy trial.
 9
            6. Nothing in this stipulation and order shall preclude a finding that other provisions of
10
                the Speedy Trial Act dictate that additional time periods are excludable from the
11

12              period within which a trial must commence.

13          Assistant U.S. Attorney Jason Hitt and the below-signed defense counsel have reviewed
14
     this proposed order and authorized Toni White to sign it on their behalf.
15
     DATED: March 29, 2019
16                                                        By      Toni White for
                                                                  JASON HITT
17
                                                                  Assistant United States Attorney
18
     DATED: March 29, 2019
19                                                        By      /s/ Toni White
                                                                  TONI L. WHITE
20
                                                                  Attorney for Defendant
21                                                                DEBORAH POLLARD

22   DATED: March 29, 2019
                                                          By      /s/ Toni White for
23
                                                                  STEVE PLESSER
24                                                                Attorney for Defendant
                                                                  CONWAY PHILLIPS, JR.
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 1   DATED: March 29, 2019
                                             By    /s/ Toni White for
 2
                                                   TODD D. LERAS
 3                                                 Attorney for Defendant
                                                   ELO WADLEY
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 1                                                ORDER
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            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
 3
     hereby ordered that the status conference in this matter, scheduled for April 4, 2019, is vacated.
 4
     A new status conference is scheduled for June 6, 2019, at 9:30 a.m. The Court further finds,
 5

 6   based on the representations of the parties and Defendants’ request, that the ends of justice

 7   served by granting the continuance outweigh the best interests of the public and the defendants in
 8
     a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 9
     3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
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     consideration the exercise of due diligence for the period from April 4, 2019, up to and including
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12   June 6, 2019.

13   DATED: April 1, 2019
14

15
                                                          Troy L. Nunley
16                                                        United States District Judge

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     ORDER CONTINUING STATUS
28   CONFERENCE
